Case 2:11-cv-06681-GHK-DTB Document 31 Filed 02/21/13 Page 1 of 3 Page ID #:644



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  5   Facsimi le: (6 1 9) 231 -47 55
  6   Attornevs for HANSEN BEVERACE COMPANY nlWa
      MONSTER ENERCY COMPANY
  7

  I
                               UNITED STATES DISTRICT COURT
  9
                              CENTRAL DISTRICT OF CALIFORNIA
 10

 11   HANSEN BEVERACE COMPANY,             A      CASE NO. CV11-06681 CHK (DTBx)
      Delaware corporation,
 12
                 Plaintiff,                       NOTICE OF NAME CHANGE
 13

 14
      OPM LOCISTICS, C. POR. 4.,      â
 15   Dominican company,
 16              Defendant.
 17

 18        PLEASE TAKE NOTICE        that plaintiff Hansen Beverage Company is now
 19   known as Monster Energy CompanY.
 20

 21   DATED: February 21      ,2013       SOLOMON WARD SEIDENWURM &
                                          SMITH. LLP
 ,,
 23
                                          Bv: /s/ Tanva M. Schierline
 24                                            tsch ierl i ne@swsslaw.com
                                               Attornevs for Plaint¡ff HANSEN
 25                                            BEVERÄCE COMPANY nlk/a
                                               MONSTER ENERCY COMPANY
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Case 2:11-cv-06681-GHK-DTB Document 31 Filed 02/21/13 Page 2 of 3 Page ID #:645



  1                              CERTIFICATE OF SERVICE
  2         I caused the NOTICE OF NAME CHANGE to be served in the following
  3   manner:
  4         SENT   VIA FEDERAL   EXPRESS   - INTERNATIONAL       PRIORITY
  5         AND
  6         EMAIL TO:
  7         erabatgg@me.com and oliverfiallo@Fmail.com
  I         On the following:
  I   OPM LOCISTICS C.POR.A.
      Pedro A. Bobea Street Esquina Avenue
 10   Anacaona, Edificio Curvo, Suite 386
      Bella Vistá. Santo Dominso
 11   Dominican Republic
      Attn: Tabare Paredes
 12

 13

 14

 15         I declare under penalty of perjury pursuant to the laws of the State of

 16   California and the United States of America that the foregoing is true and

 17   correct. Executed FebruaryQL, ,O-l
 18

 19
                                                 CRISTINA L.

 20

 21

 ,,
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      Case 2:11-cv-06681-GHK-DTB Document 31 Filed 02/21/13 Page 3 of 3 PagePage 1 of2
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